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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    Z GALLERIE, LLC, et al., 1                                       ) Case No. 19-10488 (LSS)
                                                                     )
                                       Debtors.                      ) (Jointly Administered)
                                                                     )

             DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER
(I) AUTHORIZING THE EMPLOYMENT AND RETENTION OF LAZARD FRÈRES &
  CO. LLC AND LAZARD MIDDLE MARKET LLC AS INVESTMENT BANKER TO
   THE DEBTORS AND DEBTORS IN POSSESSION, EFFECTIVE NUNC PRO TUNC
     TO THE PETITION DATE, (II) APPROVING THE TERMS OF THE LAZARD
     AGREEMENT, (III) WAIVING CERTAIN TIME-KEEPING REQUIREMENTS
 PURSUANT TO LOCAL RULE 2016-2(H), AND (IV) GRANTING RELATED RELIEF


             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this application (this “Application”) 2 for entry of an

order, substantially in the form attached hereto as Exhibit A: (a) authorizing the Debtors to

employ and retain Lazard Frères & Co. LLC (“Lazard Frères”) and Lazard Middle Market LLC

(“LMM,” and, together with Lazard Frères, “Lazard”), as their investment banker, nunc pro tunc

to the Petition Date (as defined below), pursuant to (i) that certain engagement letter dated

January 29, 2019, annexed as Exhibit 1 to Exhibit A (the “Engagement Letter”), by and between

LMM and Z Gallerie Holdings, LLC, Z Gallerie Holding Co., LLC, and Z Gallerie, LLC (ii) that


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the Debtors’
      service address is: 1855 West 139th Street, Gardena, CA 90249.
2     A detailed description of the Debtors and their business, and the facts and circumstances supporting the Debtors’
      chapter 11 cases, are set forth in greater detail in the Declaration of Mark Weinsten, Interim President and Chief
      Executive Officer of Z Gallerie, LLC, in Support of Chapter 11 Petitions and First Day Motions [Docket No. 25]
      (the “First Day Declaration”) filed contemporaneously with the Debtors’ voluntary petitions for relief filed under
      chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on March 11, 2019 (the “Petition Date”).
      Capitalized terms used but not otherwise defined in this Application shall have the meanings given to them in the
      First Day Declaration. The First Day Declaration is incorporated herein by reference.
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certain letter regarding indemnification and related matters, dated as of January 29, 2019, by and

between LMM and the Debtors, annexed as Exhibit 2 to Exhibit A (the “Indemnification Letter,”

and together with the Engagement Letter, the “Lazard Agreement”); (b) approving the terms of the

Lazard        Agreement;    (c)   waiving    certain      time-keeping    requirements    pursuant   to

Local Rule 2016-2(h); and (d) granting related relief. In support of this Application, the Debtors

submit the Declaration of Jason A. Cohen, a Managing Director at LMM (the “Cohen

Declaration”), which is attached hereto as Exhibit B. In further support of this Application, the

Debtors respectfully state as follows:

                                       Jurisdiction and Venue

         1.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 9013-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), to the entry of a final order by the Court in connection with this

Application to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

         2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.       The statutory bases for the relief requested herein are sections 327(a) and 328(a) of

the Bankruptcy Code, Bankruptcy Rules 2014(a), and Local Rules 2014-1 and 2016-2(h).




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                                         Relief Requested

          4.    The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A: (a) authorizing the Debtors to employ and retain Lazard as their investment banker

nunc pro tunc to the Petition Date; (b) approving the terms of the Lazard Agreement; (c) waiving

certain time-keeping requirements pursuant to Local Rule 2016-2(h); and (d) granting related

relief.

                                       Retention of Lazard

          5.    The Debtors require a qualified and experienced investment banker with the

resources, capabilities, and experience of Lazard to assist them in pursuing the transaction(s) that

are crucial to the success of the Debtors’ cases. An investment banker, such as Lazard, fulfills a

critical service that complements the services provided by the Debtors’ other professionals.

          6.    LMM is a wholly owned subsidiary of Lazard Frères, which is the primary U.S.

operating subsidiary o f a preeminent international financial advisory and asset management

firm. Lazard Frères’ principal office is located at 30 Rockefeller Plaza, New York, New York 10020.

Together with its predecessors and affiliates, Lazard has been advising clients around the world

for over 150 years.

          7.    Lazard has dedicated professionals who provide restructuring services to its clients.

Lazard’s professionals have extensive experience in matters working with financially troubled

companies in complex financial restructurings and have a reputation for creativity in complex

situations.    Lazard and/or its principals have been involved as advisor to debtor, creditor and

equity constituencies and government agencies in many reorganization cases. Since 1990,

Lazard’s professionals have been involved in over 250 restructurings, representing over $1 trillion

in debtor assets.



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       8.      Notably, Lazard has been retained as an investment banker and financial advisor in

numerous large and complex chapter 11 cases, including, among others, In re Sears Holdings

Corporation, No. 18-23538 (RDD) (Bankr. S.D.N.Y. Nov. 9, 2018); In re FirstEnergy Solutions

Corp., No. 18-50757 (Bankr. N.D. Ohio May 8, 2018); In re Claire’s Stores, Inc., No. 18-10584

(MFW) (Bankr. D. Del. Apr. 4, 2018); In re Toys “R” Us, Inc., Case No. 17-34665 (KLP) (Bankr.

E.D.Va. Oct. 25, 2017); In re GST AutoLeather, Inc., Case No. 17-12100 (LSS) (Bankr. D. Del.

Oct. 27, 2017); In re Sabine Oil & Gas Corp., No. 15-11835 (SCC) (Bankr. S.D.N.Y. Sept. 10,

2015); In re Standard Register Co., No. 15-10541 (BLS) (Bankr. D. Del. Apr. 13, 2015); In re

AWI Delaware, Inc., No. 14-12092 (KJC) (Bankr. D. Del. Sep. 17, 2014); In re Longview Power,

LLC, No. 13-12211 (BLS) (Bankr. D. Del. Sept. 24, 2013); In re Maxcom Telecomm., S.A.B. de

C.V., No. 13-11839 (PJW) (Bankr. D. Del. Aug. 15, 2013); In re Cengage Learning, Inc.,

No. 13-44106 (ESS) (Bankr. E.D.N.Y. July 24, 2013); In re A123 Sys., Inc., No. 12-12859 (KJC)

(Bankr. D. Del. Nov. 9, 2012); In re Eastman Kodak Co., No. 12-10202 (ALG) (Bankr. S.D.N.Y.

Feb. 28, 2012); In re NewPage Corp., No. 11-12804 (KG) (Bankr. D. Del. Nov. 3, 2011); In re

Great Atl. & Pac. Tea Co., No. 10-24549 (RDD) (Bankr. S.D.N.Y. Jan. 12, 2011).

       9.      The Debtors have selected Lazard as their investment banker based upon, among

other things, (a) the Debtors’ need to retain an investment banking firm to provide advice with

respect to the Debtors’ restructuring activities, (b) Lazard’ s experience with the Debtors’ assets

and operations, and (c) Lazard’ s extensive experience and excellent reputation in providing

investment banking and financial advisory services in complex chapter 11 cases.

       10.     The resources, capabilities, and experience of Lazard in advising debtors are

crucial to a debtor during its chapter 11 case. An experienced investment banker such as Lazard

fulfills a critical need that complements the services offered by the Debtors’ other restructuring


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professionals. Lazard will concentrate its efforts on the restructuring, negotiating with the

Debtors’ creditor constituencies, and assisting the Debtors to consummate a sale of their assets or

securing postpetition financing to fund a restructuring plan. For these reasons, the Debtors require

the services of a capable and experienced investment banking firm such as Lazard.

                                         Services to be Provided

        11.     Per the terms of the Engagement Letter, Lazard will advise and assist the Debtors

in connection with the following tasks: 3

                •    reviewing and analyzing the Debtors’ business, operations, and financial
                     projections;

                •    assisting the Debtors in identifying and evaluating candidates for any potential
                     Sale Transaction, advising the Debtors in connection with the negotiations, and
                     aiding in the consummation of any Sale Transaction;

                •    assisting in the determination of a range of values for the Debtors on a going
                     concern basis;

                •    evaluating the Debtors’ potential debt capacity in light of their projected cash
                     flows;

                •    assisting in the determination of a capital structure for the Debtors;

                •    advising the Debtors on tactics and strategies for negotiating with their
                     Stakeholders and other contract and lease counterparties;

                •    rendering financial advice to the Debtors and participating in meetings or
                     negotiations with the Debtors’ Stakeholders and/or rating agencies or other
                     appropriate parties in connection with any Restructuring;

                •    advising the Debtors on the timing, nature, and terms of new securities, other
                     consideration, or other inducements to be offered pursuant to any Sale
                     Transaction or Restructuring;

                •    advising and assisting the Debtors in evaluating any potential Financing
                     transaction by the Debtors, and, subject to Lazard’s agreement so to act and, if

3   The summary provided herein is for illustrative purposes only and is subject to the Engagement Letter in all
    respects. In the event of any inconsistency between the summary of services as set forth herein and the
    Engagement Letter, the Engagement Letter will control. Capitalized terms not otherwise defined in such
    summaries shall have the meanings ascribed to them in the Engagement Letter.


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                   requested by Lazard, to execution of appropriate agreements, on behalf of the
                   Debtors, contacting potential sources of capital as the Debtors may designate
                   and assisting the Debtors in implementing such Financing;

               •   assisting the Debtors in preparing documentation within Lazard’ s area of
                   expertise that is required in connection with any Financing, Sale Transaction,
                   or Restructuring;

               •   attending meetings of the Debtors’ Board of Directors with respect to matters
                   on which Lazard has been engaged to advise under the Engagement Letter;

               •   providing testimony, as necessary, with respect to matters on which Lazard has
                   been engaged to advise under the Engagement Letter in any proceeding before
                   the Court; and

               •   providing the Debtors with other financial restructuring advice.

       12.     The Debtors believe that Lazard is well qualified and able to provide the foregoing

services to the Debtors. Lazard has indicated a willingness to act on behalf of the Debtors, on

the terms described herein.

                                  Professional Compensation

       13.     Lazard intends to apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with these cases, subject to the Court’s approval

and in compliance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

Local Rules, and any other applicable procedures and orders of the Court (to the extent compliance

is not waived), and consistent with the proposed compensation set forth in the Engagement Letter

(the “Fee Structure”). Lazard’ s decision to advise and assist the Debtors is conditioned upon its

ability to be retained in accordance with its customary terms and conditions of employment and to

be compensated for its services and reimbursed for the expenses it incurs in accordance with its

customary billing practices.

       14.     Investment bankers such as Lazard do not typically charge for their services on an

hourly basis. Instead, they customarily charge a monthly advisory fee plus an additional fee that


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is contingent upon the occurrence of a specified type of transaction. The Engagement Letter

follows this custom in the investment banking industry, and sets forth the monthly and transaction-

based fees that are to be payable to Lazard.

        15.      The compensation arrangements contained in the Lazard Agreement are highly

beneficial to the Debtors’ estates as they provide certainty and proper inducement for Lazard to

act expeditiously and prudently with respect to the matters for which it will be employed.

Accordingly, because the Debtors are seeking to retain Lazard under section 328(a) of the

Bankruptcy Code, the Debtors believe that Lazard’s compensation should not be subject to any

additional standard of review under section 330 of the Bankruptcy Code and does not constitute a

“bonus” or fee enhancement under applicable law.

        16.      In summary, the Fee Structure provides that the Debtors shall pay Lazard the

following fees: 4

                 •    Monthly Fee. A monthly fee of $75,000 (the “Monthly Fee”), payable on
                      execution of the Engagement Letter and on the 1st day of each month thereafter
                      until the earlier of the completion of the Restructuring, Sale Transaction or the
                      termination of Lazard’s engagement pursuant to Section 10 of the Engagement
                      Letter. Fifty percent (50%) of Monthly Fees paid in respect of any months
                      following the third month of Lazard’s engagement shall be credited (without
                      duplication) against any Restructuring Fee, Sale Transaction Fee, or
                      Financing Fee payable; provided, that, in the event of a Chapter 11 filing,
                      such credit shall only apply to the extent that such fees are approved in
                      entirety by the Court, if applicable. 5

                 •    Financing Fee. A fee, payable upon consummation of a Financing
                      (the “Financing Fee”) calculated by multiplying the applicable fee
                      percentage below by the total gross proceeds raised or committed (including,
                      for the avoidance of doubt, amounts committed but undrawn) in each

4   The summary provided herein is for illustrative purposes only and is subject to the Engagement Letter in all
    respects. In the event of any inconsistency between the Fee Structure as set forth herein and the Engagement
    Letter, the Engagement Letter will control. Capitalized terms not otherwise defined in such summaries shall have
    the meanings ascribed to them in the Engagement Letter.
5   The Debtors and Lazard have agreed, for the avoidance of doubt, that the crediting of the Monthly Fee shall begin
    with the Monthly Fee earned on May 1, 2019.


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                   Financing:

                    Funds Raised                                 Fee %
                    First Lien Debt                              1.50%
                    Second Lien Debt                             2.50%
                    Unsecured Debt                               3.50%
                    Equity                                       5.00%

               •   Restructuring Fee A fee equal to $1,250,000 (the “Restructuring Fee”) upon
                   the consummation of a Restructuring.

               •   Sale Transaction Fee. If, whether in connection with the consummation of
                   a Restructuring or otherwise, the Debtors consummate a Sale Transaction
                   incorporating all or a majority of the assets or all or a majority or controlling
                   interest in the equity securities of the Debtors, Lazard shall be paid a fee (the
                   “Sale Transaction Fee”) equal to $1,250,000. For the avoidance of any doubt,
                   more than one fee may be payable to Lazard; provided, however, in no event
                   will Lazard be entitled to both the Restructuring Fee a n d t h e Sale Transaction
                   Fee.

       17.     In addition to any fees that may be payable to Lazard and, regardless of whether

any transaction occurs, the Debtors shall promptly reimburse Lazard for all reasonable expenses

incurred by Lazard (including travel and lodging, data processing and communications charges,

courier services, and other expenditures) and the reasonable fees and expenses of outside counsel,

if any, retained by Lazard to negotiate or enforce the Engagement Letter or for services to Lazard

necessary for Lazard to perform its obligations under the Engagement Letter, subject to the

procedures set forth in the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules (to the

extent not waived). Lazard will maintain records in support of any expenses incurred in connection

with the rendering of its services in these cases.

       18.     As it is not the general practice of investment banking firms, including Lazard, to

keep detailed time records, and because Lazard’s compensation will be calculated and paid based

on certain transaction fees (in addition to Monthly Fees), Lazard requests that it not be required to

file time records in accordance with Bankruptcy Rule 2016(a), Local Rule 2016-2, the United

States Trustee Fee Guidelines, and any otherwise applicable orders or procedures of the Court.
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Notwithstanding that Lazard does not charge for its services on an hourly basis, Lazard will

nonetheless maintain records (in summary format) of its services rendered for the Debtors in one-

half hour increments, including reasonably detailed descriptions of those services and the

individuals who provided those services, and will present such records to the Court in its interim

and final fee applications.

       19.     The Debtors believe the Fee Structure is consistent with and typical of

compensation arrangements entered into by Lazard and other comparable firms in connection with

the rendering of similar services under similar circumstances. Lazard’s strategic and financial

expertise as well as its capital markets knowledge, financing skills, restructuring capabilities, and

mergers and acquisitions expertise, some or all of which may be required by the Debtors during

the term of Lazard’s engagement, were all important factors in determining the Fee Structure. The

Debtors believe that the ultimate benefit of Lazard’s services cannot be measured by reference to

the number of hours to be expended by Lazard’s professionals in the performance of such services.

Indeed, the Debtors and Lazard have agreed upon the Fee Structure in anticipation that a

substantial commitment of professional time and effort will be required of Lazard and its

professionals in connection with these cases and in light of the fact that: (a) such commitment

may foreclose other opportunities for Lazard; and (b) the actual time and commitment required of

Lazard and its professionals to perform its services under the Engagement Letter may vary

substantially from week to week and month to month, creating “peak load” issues for Lazard.

       20.     In light of the foregoing and given the numerous issues that Lazard may be required

to address in the performance of its services hereunder, Lazard’s commitment to the variable level

of time and effort necessary to address all such issues as they arise and the market prices for

Lazard’s services for engagements of this nature both in an out-of-court and chapter 11 context,


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the Debtors believe that the Fee Structure is fair, reasonable, and market-based under the standard

set forth in section 328(a) of the Bankruptcy Code.

                                         Indemnification

       21.     The Debtors have agreed to indemnify, to make certain contributions to, and to

reimburse Lazard and the other Indemnified Persons (as defined in the Indemnification Letter) in

accordance with the provisions set forth in the Indemnification Letter. The Indemnification Letter

provides, among other things, that the Debtors will indemnify Lazard and other Indemnified

Persons except to the extent that any loss, claim, damage, liability, or expense is found by a court

of competent jurisdiction in a judgment which has become final in that it is no longer subject to

appeal or review to have resulted from such Indemnified Person’s bad faith or gross negligence.

       22.     The indemnification, contribution, and reimbursement provisions reflected in the

Indemnification Letter are customary and reasonable terms of consideration for investment

bankers such as Lazard for proceedings both out of court and in chapter 11. The terms of the

Indemnification Letter were fully negotiated between the Debtors and Lazard at arm’s-length and

the Debtors respectfully submit that the Indemnification Letter is reasonable and in the best

interests of the Debtors, their estates, and stakeholders. Accordingly, the Debtors request that the

Court approve the Indemnification Letter, subject to customary modifications set forth in the

Debtors’ proposed order.

                                   No Duplication of Services

       23.     The Debtors intend that Lazard’s services will complement, and not duplicate, the

services to be rendered by any other professional retained by the Debtors in these chapter 11 cases.

The Engagement Letter reflects Lazard’s understanding that the Debtors may retain other

professionals during the term of the engagement, and the Debtors believe that at their request



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Lazard will work cooperatively with such professionals to integrate any respective work conducted

by the professionals on behalf of the Debtors.

                                      Lazard’s Disinterestedness

        24.     Lazard has informed the Debtors that, except as set forth in the Cohen Declaration,

Lazard: (a) has no connection with the Debtors, their creditors, equity security holders or other

parties in interest or their respective attorneys or accountants, the U.S. Trustee, or any person

employed in the office of the U.S. Trustee in any matter related to the Debtors and their estates;

(b) does not hold any interest adverse to the Debtors’ estates; and (c) believes that it is a

“disinterested person” as that term is defined in section 101(14) of the Bankruptcy Code, as

modified by section 1107(b) of the Bankruptcy Code, as required by section 327(a) of the

Bankruptcy Code. If any new material facts or relationships are discovered or arise, Lazard will

promptly inform the Court as required by Bankruptcy Rule 2014(a).

        25.     During the 90 day period prior to the commencement of these cases, Lazard was

paid in the ordinary course certain Monthly Fees and expense reimbursement. Specifically, on

March 7, 2019, Lazard was paid its February and March Monthly Fees and related expense

reimbursements for a total of $155,394.47. 6 Additionally, Lazard was provided a $75,000 expense

retainer in connection with the payment of its March Monthly Fee on March 7, 2019. Lazard will

apply the $75,000 in retainer amounts received from the Debtors before the Petition Date first to

any prepetition expenses incurred but not reimbursed prepetition, second to any postpetition

expenses and third to Monthly Fees. As of the Petition Date, no other amounts were due and

payable to Lazard under the Lazard Agreement. Accordingly, Lazard is not a prepetition creditor




6   Although the Lazard Agreement was effective January 29, 2019, Lazard did not charge the Debtors a Monthly
    fee for the three days worked in January 2019.


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of the Debtors.

       26.        Accordingly, to the best of the Debtors’ knowledge, information, and belief that is

based entirely in reliance on the representations made to the Debtors by Lazard, which are reflected

in the Cohen Declaration, none of Lazard’s past or current engagements would or do appear to

create an interest materially adverse to the interests of the Debtors, creditors or equity security

holders in these chapter 11 cases. As such, the Debtors believe that Lazard is disinterested and

holds no materially adverse interest as to the matters upon which they are to be retained in these

chapter 11 cases.

                                           Basis for Relief

       27.        Section 327(a) of the Bankruptcy Code authorizes a debtor in possession to employ

professionals that “do not hold or represent an interest adverse to the estate, and that are

disinterested persons.”       11 U.S.C. § 327(a).       As discussed above, Lazard satisfies the

disinterestedness standard of section 327(a).

       28.        In addition, the Debtors seek approval of the Lazard Agreement, including the Fee

Structure set forth therein, pursuant to section 328(a) of the Bankruptcy Code. Section 328(a)

provides, in relevant part, that the Debtors “with the court’s approval, may employ or authorize

the employment of a professional person under section 327 . . . on any reasonable terms and

conditions of employment, including on a retainer, on an hourly basis, on a fixed or percentage fee

basis, or on a contingent fee basis.” 11 U.S.C. § 328(a).

       29.        Section 328 permits the compensation of professionals, including investment

bankers and financial advisors, on more flexible terms that reflect the nature of their services and

market conditions. As the United States Court of Appeals for the Fifth Circuit recognized in

Donaldson Lufkin & Jenrette Sec. Corp. v. Nat’l Gypsum Co. (In re Nat’l Gypsum Co.),

123 F.3d 861 (5th Cir. 1997):
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        Prior to 1978 the most able professionals were often unwilling to work for
        bankruptcy estates where their compensation would be subject to the uncertainties
        of what a judge thought the work was worth after it had been done. That uncertainty
        continues under the present § 330 of the Bankruptcy Code, which provides that the
        court award to professional consultants “reasonable compensation” based on
        relevant factors of time and comparable costs, etc. Under present § 328 the
        professional may avoid that uncertainty by obtaining court approval of
        compensation agreed to with the trustee (or debtor or committee).

Id. at 862 (internal citations omitted).

        30.     As set forth above, notwithstanding approval of the Engagement Letter under

section 328(a) of the Bankruptcy Code, Lazard intends to apply for compensation for professional

services rendered and reimbursement of expenses incurred in connection with these cases, subject

to the Court’s approval and in compliance with the applicable provisions of the Bankruptcy Code,

the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of the

Court (to the extent compliance is not waived) and consistent with the Fee Structure set forth in

the Engagement Letter.

        31.     The Debtors believe that the Fee Structure appropriately reflects the nature and

scope of services to be provided by Lazard in these chapter 11 cases, Lazard’s substantial

experience with respect to investment banking services, and the fee structures typically utilized by

Lazard and other leading investment banks that do not bill their client on an hourly basis. In

agreeing to seek Lazard’s retention under section 328(a) of the Bankruptcy Code, the Debtors

acknowledge that: (a) they believe that Lazard’s general restructuring experience and expertise,

its knowledge of the capital markets, and its merger and acquisition capabilities will inure to the

benefit of the Debtors in pursuing any Restructuring (as defined in the Engagement Letter); (b) that

the value to the Debtors of Lazard’s services under the Lazard Agreement derives in substantial

part from that expertise and experience; (c) that, accordingly, the Fee Structure is reasonable

regardless of the number of hours to be expended by Lazard’s professionals in the performance of

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the services to be provided under the Lazard Agreement, and (d) that any deferred fees earned by

Lazard pursuant to the Engagement Letter should not be considered to be “bonuses” or fee

enhancements under applicable law.

        32.     Indeed, similar fixed and contingency fee arrangements in other large chapter 11

cases have been routinely approved and implemented by courts in this circuit and elsewhere.

See, e.g., In re Claire’s Stores, Inc., No. 18-10584 (MFW) (Bankr. D. Del. Apr. 4, 2018)

(approving a fixed and contingency fee structure pursuant to section 328); In re Toys “R” Us, Inc.,

Case No. 17-34665 (KLP) (Bankr. E.D.Va. Oct. 25, 2017) (same); In re GST AutoLeather, Inc.,

Case No. 17-12100 (LSS) (Bankr D. Del. Oct. 27, 2017) (same); In re Sabine Oil & Gas Corp.,

No. 15-11835 (SCC) (Bankr. S.D.N.Y. Sept. 10, 2015) (same); In re Standard Register Co., No.

15-10541 (BLS) (Bankr. D. Del. Apr. 13, 2015) (same); In re AWI Delaware, Inc., No. 14-12092

(KJC) (Bankr. D. Del. Sep. 17, 2014) (same); In re Longview Power, LLC, No. 13-12211 (BLS)

(Bankr. D. Del. Sept. 24, 2013) (same); In re Cengage Learning, Inc., No. 13-44106 (ESS) (Bankr.

E.D.N.Y. July 24, 2013) (same); In re Exide Techs., No. 13-11482 (KJC) (Bankr. D. Del. July 10,

2013) (same); In re A123 Sys., Inc., No. 12-12859 (KJC) (Bankr. D. Del. Nov. 9, 2012) (same). 7

        33.     Moreover, the Debtors and Lazard believe that the indemnification provisions set

forth in the Indemnification Letter are customary and reasonable for investment banking

engagements, both out of court and in chapter 11 cases, and reflect the qualifications and

limitations on indemnification provisions in this District, and others. See, e.g., In re Claire’s

Stores, Inc., No. 18-10584 (MFW) (Bankr. D. Del. Apr. 4, 2018) (approving similar

indemnification provisions as set forth in the Indemnification Letter); In re Toys “R” Us, Inc.,



7   Because of the voluminous nature of the orders cited herein, such orders have not been attached to this
    Application. Copies of these orders are available upon request of the Debtors’ proposed counsel.


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Case No. 17-34665 (KLP) (Bankr. E.D.Va. Oct. 25, 2017) (same); In re GST AutoLeather, Inc.,

Case No. 17-12100 (LSS) (Bankr D. Del. Oct. 27, 2017) (same); In re Sabine Oil & Gas Corp.,

No. 15-11835 (SCC) (Bankr. S.D.N.Y. Sept. 10, 2015) (same); In re Standard Register Co., No.

15-10541 (BLS) (Bankr. D. Del. Apr. 13, 2015) (same); In re AWI Delaware, Inc., No. 14-12092

(KJC) (Bankr. D. Del. Sep. 17, 2014) (same); In re Longview Power, LLC, No. 13-12211 (BLS)

(Bankr. D. Del. Sept. 24, 2013) (same); In re Cengage Learning, Inc., No. 13-44106 (ESS)

(Bankr. E.D.N.Y. July 24, 2013) (same); In re Exide Techs., No. 13-11482 (KJC) (Bankr. D. Del.

July 10, 2013) (same); In re A123 Sys., Inc., No. 12-12859 (KJC) (Bankr. D. Del. Nov. 9, 2012)

(same); In re NewPage Corp., No. 11-12804 (KG) (Bankr. D. Del Nov. 3, 2011) (same).

       34.     The Debtors also believe that employment of Lazard nunc pro tunc to the Petition

Date is warranted by the circumstances presented by these cases. The Third Circuit has identified

“time pressure to begin service” and absence of prejudice as factors favoring nunc pro tunc

retention. See In re Arkansas Co., 798 F.2d 645, 650 (3d Cir. 1986). The complexity, compressed

timing, and intense activity relating to the preparation and filing of these chapter 11 cases

necessitated that the Debtors and Lazard, as well as the Debtors’ other professionals, focus their

immediate attention on time-sensitive matters, and promptly devote substantial resources to the

affairs of the Debtors to comply with the pending submission and approval of this Application.

       35.     In light of the foregoing, and given the numerous issues that Lazard may be required

to address in the performance of its services under the Engagement Letter, Lazard’s commitment

to the variable level of time and effort necessary to address all such issues as they arise, and the

market prices for Lazard’s services for engagement of this nature, the Debtors believe that the

terms and conditions of the Lazard Agreement are fair, reasonable, and market-based under the

standards set forth in section 328(a) of the Bankruptcy Code.


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                                               Notice

       36.     The Debtors will provide notice of this Application to: (a) the Office of the U.S.

Trustee for the District of Delaware; (b) the holders of the 50 largest unsecured claims against the

Debtors (on a consolidated basis); (c) the Agent for the Debtors’ prepetition secured credit facility

and the DIP Agent; (d) counsel to the Agent for the Debtors’ prepetition secured credit facility and

the DIP Agent; (e) the United States Attorney’s Office for the District of Delaware; (f) the Internal

Revenue Service; (g) the United States Securities and Exchange Commission; (h) the state

attorneys general for all states in which the Debtors conduct business; and (i) any party that

requests service pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature

of the relief requested, no other or further notice need be given.

                                         No Prior Request

       37.     No prior request for the relief sought in this Application has been made to this or

any other court.


                           [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request that the Court enter the Order, granting

the relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

 Dated: March 20, 2019                                 /s/ Mark Weinsten
 Wilmington, Delaware                                 Mark Weinsten
                                                      Chief Executive Officer
                                                      Z Gallerie, LLC
